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                Exhibit A
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        12                                  UNITED STATES DISTRICT COURT

        13                               NORTHERN DISTRICT OF CALIFORNIA

        14 EPIC GAMES, INC.,                                     )     Case No. 4:20-cv-05640-YGR-TSH
                                                                 )
        15                               Plaintiff,              )     BRIEF OF AMICUS CURIAE
                                                                 )     SPOTIFY USA INC. IN SUPPORT
        16             v.                                        )     OF EPIC GAMES, INC.’S MOTION
                                                                 )     TO ENFORCE INJUNCTION
        17 APPLE INC.                                            )
                                                                 )     Judge:        Hon. Yvonne
        18                               Defendant.              )                   Gonzalez-Rogers
                                                                 )     Hearing Date: April 30, 2024
        19                                                       )     Hearing Time: 2:00 p.m.
                                                                 )     Courtroom:    1, 4th Floor
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          1                   Spotify USA Inc. (“Spotify”) respectfully submits this brief as Amicus Curiae in

          2    support of Plaintiff Epic Games, Inc.’s (“Epic”) Motion to Enforce Injunction.1

          3                                   INTEREST OF AMICUS CURIAE

          4                   Spotify and its affiliates operate one of the world’s most popular audio streaming

          5    subscription services. Spotify’s streaming service first launched in Sweden in 2008 and launched

          6    in the United States in 2011. With a presence in more than 180 countries and territories, Spotify’s

          7    platform includes 602 million monthly active users, including 236 million paid subscribers to its

          8    Premium service as of December 31, 2023.

          9                   Spotify’s audio-streaming app has been available on the Apple App Store in the

        10     United States since 2011. As an app developer that has been subject to Apple’s anti-steering

        11     restrictions for many years, and as a beneficiary of this Court’s September 10, 2021 injunction

        12     against Apple, Spotify has a substantial interest in ensuring that the injunction is enforced so that

        13     Spotify can freely communicate with its users about price and purchasing information within its

        14     iOS app. Moreover, Spotify can offer the Court an important perspective because it falls within a

        15     category of apps known as “reader” apps under Guideline 3.1.3(a) of Apple’s App Store Review

        16     Guidelines (“Guidelines”). Spotify can aid the Court in its resolution of Epic’s motion by

        17     explaining how changes to Apple’s Guidelines in response to the injunction continue to restrict the

        18     flow of price and purchasing information and prevent users from learning about the low-cost

        19     options offered by reader apps, inhibiting the price competition that this Court sought to enable.

        20                                             INTRODUCTION

        21                    This Court’s September 10, 2021 trial order (“Order”) was clear: the anti-steering

        22     provisions contained in Apple’s Guidelines violate California law and cause “considerable” harm

        23     to app developers and Apple mobile device users. Epic Games, Inc. v. Apple Inc., 559 F. Supp.

        24     3d 898, 1056 (N.D. Cal. 2021). The Court found that this harm could “best be remedied by

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                   Spotify is a wholly owned subsidiary of Spotify Technology S.A., a publicly traded
        26 company that does not have a parent corporation. No publicly traded corporation owns 10% or
           more of the common stock of Spotify Technology S.A. Spotify affirms that no counsel for a party
        27 authored this brief in whole or in part, and no person other than Spotify contributed any money to
           fund its preparation or submission.
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             1   invalidating the offending provisions” in Apple’s Guidelines and entered a permanent injunction

             2   preventing Apple from prohibiting app developers from including in their apps “buttons, external

             3   links, or other calls to action that direct customers to purchasing mechanisms” other than Apple’s

             4   proprietary In-App Purchase mechanism (“IAP”). (See Dkt. No. 813.) The Ninth Circuit affirmed

             5   this Court’s findings that Apple’s anti-steering provisions decrease the pricing information

             6   available to consumers, enable Apple to reap supracompetitive profits, and reduce innovation.

             7   Epic Games, Inc. v. Apple Inc., 67 F.4th 946, 1000–02 (9th Cir. 2023). It also held that this Court

             8   did not abuse its discretion by imposing an order permanently enjoining Apple from enforcing its

             9   anti-steering rules nationwide. Id. at 1003–04.

        10                      Apple’s conduct shows that it has no intention of complying with this Court’s

        11       directive. On January 16, 2024, Apple filed a Notice describing the changes it has made in a

        12       supposed effort to comply with the injunction (the “Apple Plan”). (See Apple’s Notice, Dkt. No.

        13       871.) Although the Apple Plan makes nominal changes, even a cursory review reveals that the

        14       Apple Plan falls far short of what this Court has ordered Apple to do. Rather than removing the

        15       offending provisions, Apple has essentially left its anti-steering rules in place by enacting

        16       additional new rules that will continue to (i) prevent app developers from offering competitive

        17       alternatives to Apple’s IAP, (ii) limit information flow to consumers, and (iii) deprive users and

        18       developers of any benefit of the injunction.

        19                      The Apple Plan violates the injunction and undermines the goal of this Court’s

        20       injunctive relief: to “uncloak[] the veil hiding pricing information on mobile devices and bring[]

        21       transparency to the marketplace.” Epic Games, 559 F. Supp. 3d at 1057. As such, this Court

        22       should reject the Apple Plan in its entirety and order Apple to allow all apps to share price and

        23       purchasing information with their users within the app, so that the injunction can have its intended

        24       effect of increasing transparency for consumers and, thus, constraining Apple’s IAP commissions.

        25                      As an initial matter, this Court’s injunction applies with equal force to protect all

        26       apps, including Spotify.     This Court was clear that its injunction was intended to apply

        27       “nationwide” to “all apps, not just gaming apps.” Id. at 922, 1058. And all app users stand to

        28       benefit from the greater price transparency that this Court’s injunction was designed to bring about.
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             1                  This Court should reject the Apple Plan because it violates the letter and spirit of

             2 the Court’s injunction in multiple ways. First, Apple’s revised Guideline 3.1.3 retains express

             3 anti-steering language that this Court already found to be anticompetitive and continues Apple’s

             4 ongoing effort to prevent its competitors from freely communicating with their consumers.

             5 Second, the numerous requirements governing Apple’s new external purchase link entitlement

             6 ensure that the links will not be an effective means of providing pricing information to users to aid

             7 them in their purchasing decisions. Third, the Apple Plan’s imposition of a new 27% commission

             8   on out-of-app purchases will discourage developers from using links at all because doing so would

             9   extend the inflated pricing that has long existed within iOS apps to the open web.

        10                      Ignoring this Court’s directive simply to “sever[]” the anti-steering provisions from

        11       its Guidelines, id. at 1055, Apple has instead implemented a new scheme designed to ensure that

        12       developers cannot effectively steer their users within iOS apps to non-Apple payment mechanisms.

        13       Collectively, Apple’s new requirements will deter many developers from even trying to include

        14       an external purchase link within their apps, and will ensure that those developers who do

        15       implement such a link are not able to offer a competitive alternative to IAP. Spotify respectfully

        16       requests that this Court reject the Apple Plan and issue clear directives that ensure that Apple fully

        17       complies with the injunction.

        18                                                  ARGUMENT
        19       I.     THE COURT’S INJUNCTION APPLIES TO ALL APPS, INCLUDING SPOTIFY.
        20                      This Court made clear that Apple’s anti-steering provisions create anticompetitive
        21       effects for “all apps, not just gaming apps.” Epic Games, 559 F. Supp. 3d at 1057–58. The Order
        22       expressly called out language from Guidelines 3.1.1 and 3.1.3 “prohibiting apps from including
        23       ‘buttons, external links, or other calls to action that direct customers to purchasing mechanisms
        24       other than in-app purchase,’ and from ‘encourag[ing] users to use a purchasing method other than
        25       in-app purchase’ either ‘within the app or through communications sent to points of contact
        26       obtained from account registrations within the app (like email or text).’” Id. at 1055 (quoting PX-
        27       2790, Dkt. No. 871-4, Ex. 11 §§ 3.1.1, 3.1.3) (alteration in original). Reviewing the trial record,
        28       the Court then concluded that Apple “acts anticompetitively” by blocking marketing activities such
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          1    as “push notifications” and “email outreach,” and that “[t]he Court cannot discern any principled

          2    reason for eliminating the anti-steering provisions to mobile gaming only.” Id. at 1054–55, 1057–

          3    58. As such, the Court found that a “nationwide remedy to eliminate those provisions is

          4    warranted.” Id. at 922. Thus, there can be no real dispute that the injunction applies to all apps,

          5    without exception.

          6                   Reaffirming the injunction’s application to all apps is necessary to achieve the

          7    benefits of price transparency and expanded user choice that the Court intended to foster. Just as

          8    with mobile gaming apps, users of all other types of apps benefit when they can learn about lower-

          9    cost pricing and payment options. This Court acknowledged that information barriers “may create

        10     ‘lock-in’ for platforms as users lack information about the lifetime costs of an ecosystem” and

        11     “lack the ability to attribute costs to the platform versus the developer, which further prevents them

        12     from making informed choices.” Id. at 1055. The injunction ensures that Apple cannot use such

        13     “lock-in” for its own benefit by preventing app developers from informing users about the

        14     availability of lower-cost alternatives.

        15     II.    THE APPLE PLAN DEPRIVES APP DEVELOPERS OF THE BENEFITS OF THE
                      INJUNCTION.
        16
                              After finding that Apple’s anti-steering restrictions were unlawful, the Court rightly
        17
               observed that the injuries to developers and consumers resulting from Apple’s conduct “can best
        18
               be remedied by invalidating the offending provisions.” Id. at 1057. Simply removing Apple’s
        19
               anti-steering rules from the Guidelines would enable greater price transparency and would allow
        20
               viable alternatives to Apple’s IAP to emerge. But instead of following this Court’s directive,
        21
               Apple has introduced a new scheme that is designed to continue suppressing developers’ ability to
        22
               steer users towards non-Apple payment mechanisms. At least three aspects of Apple’s scheme,
        23
               described in the sections that follow, will deprive developers like Spotify and their users of the
        24
               benefits of the Court’s injunction.
        25
                      A.      Guideline 3.1.3 Continues To Prohibit Reader Apps from Steering.
        26
                              Reader apps, like other apps, have long been subject to Apple’s anti-steering
        27
               restrictions. As described above, this Court found that Apple’s prohibition on “encourag[ing] users
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          1    to use a purchasing method other than in-app purchase” was anticompetitive, and that this

          2    provision “can be severed without any impact on the integrity of the ecosystem.” Id. at 1055.

          3    Despite this clear directive, Apple’s revised Guidelines still provide that reader apps,2 and other

          4    apps that fall within Guideline 3.1.3’s ambit, “cannot, within the app, encourage users to use a

          5    purchasing method other than in-app purchase, except as set forth in 3.1.3(a).”3 (Dkt. No. 874,

          6    Ex. 1 § 3.1.3.) For reader apps (as with all other types of apps), Apple’s new external purchase

          7    link entitlement is the sole means that Apple allows for communicating with users within an iOS

          8    app about prices, offers, or payment options available outside of the app, and it in fact permits

          9    nothing of the kind. Thus, Apple remains out of compliance with the express commands of this

        10     Court’s Order and injunction.

        11            B.      The Apple Plan Imposes New Anti-Steering Restrictions that Prevent Apps
                              from Communicating with Users about the Content and Pricing of Their
        12                    Services.
        13                    In place of the anti-steering restrictions in Apple’s Guideline 3.1.1 that this Court

        14     found to be anticompetitive, see id. at 1055 & n.635, the Apple Plan puts in place new anti-steering

        15     restrictions that achieve the same practical effects. Thus, even if an app developer applies for and

        16     is granted an entitlement to include an external payment link within its app, Apple’s myriad

        17     restrictions on the location, appearance, and technical implementation of the link — which are

        18
           2
                   Apple defines reader apps to mean apps that “allow a user to access previously purchased
        19 content or content subscriptions” that were paid for outside of the iOS app. (See Dkt. No. 874, Ex.
           1 § 3.1.3.) Apple classifies Spotify as a reader app because Spotify users can purchase audio-
        20 streaming subscriptions and other products on Spotify’s website, then later access them within the
           Spotify iOS app by logging into the account that was used to make those purchases.
        21
           3
                   To be clear, Guideline 3.1.3(a) does not create any exception allowing reader apps to
        22 encourage the use of non-Apple payment methods. Guideline 3.1.3(a) gives reader app developers
           only the narrow ability to “apply for the External Link Account Entitlement to provide an
        23 informational link in their app to a web site . . . in order to create or manage an account.” This
           account link entitlement has nothing to do with pricing or directing users to non-Apple payment
        24 methods outside of the app. In fact, Apple’s rules governing the account link entitlement expressly
           state that the link cannot “include, or be used with, language that includes the price of items
        25 available on the website.” Apple, Distributing “Reader” Apps with a Link to Your Website,
           https://developer.apple.com/support/reader-apps/ (last visited March 19, 2024). In addition, these
        26 account management links are subject to restrictions on the location, appearance, and technical
           implementation of the link that are similar to the rules Apple imposes on its new external payment
        27 links, discussed in Section II.B below. See id. As such, the account link entitlement does nothing
           to further this Court’s goal of improving price transparency.
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             1   thoroughly catalogued in Epic’s Motion to Enforce the Injunction (Epic Brief, Dkt. No. 897, at 5–

             2   9) — will prevent the developer from effectively communicating pricing information to users in a

             3   way that they might actually find to be useful in deciding whether and how to make a purchase.

             4                  As Epic has explained, the Apple Plan’s external link entitlement restrictions

             5 severely hamper all app developers’ ability to inform users about lower-price alternatives to IAP.

             6 (See id. at 5–9, 15–17.) The entitlement is limited to a single link that cannot be displayed in any

             7 in-app payment flow, and Apple carefully circumscribes every aspect of the link through exacting

             8 rules as to its location, language, and even color. (Id. at 5–9.) These restrictions cannot reasonably

             9   be explained by any of the purported privacy or security justifications that Apple asserts. (See id.

        10       at 19.) None of them has any reasonable justification other than to serve as an obstacle to non-

        11       Apple payment alternatives.

        12                      Apple’s new restrictions ensure that, just as under the pre-injunction status quo,

        13       developers cannot present users with information about alternative payment mechanisms and

        14       pricing at the moments when they are considering a purchase. This has important implications for

        15       Spotify and countless other apps that create or license content that is then made available to users

        16       through different service tiers, each with varying price points and features. Such apps typically

        17       offer a variety of subscription options, including free/ad-supported tiers, paid tiers that unlock

        18       certain features or content, and tiers like Family plans or discounted plans for eligible students that

        19       offer particular value to some consumers. To encourage users to subscribe to these services,

        20       developers need to be able to communicate with users about their apps’ paid features and how to

        21       access them. The success of these apps depends, therefore, on a developer’s ability to inform users

        22       of the options and benefits of each subscription offering, and to make paying for those features as

        23       convenient as possible. If there is significant friction in subscribing to a paid-service tier, users

        24       might decide it is not worth the trouble — even if they otherwise would have desired the paid

        25       service’s features.

        26                      Apple’s external link entitlement restrictions introduce friction to every aspect of a

        27       developer’s attempt to provide any useful price or purchasing information to its users. Moreover,

        28       because the link must be in a location that the user “navigates to” and cannot be part of any payment
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          1    flow, the Apple Plan prohibits developers from presenting alternative payment options to users at

          2    the point when they are actually trying to access a paid feature of the app. Apple’s restrictions on

          3    information flow at the moment users are contemplating a purchase thus wholly undermines this

          4    Court’s goal of “bringing transparency to the marketplace.” Epic Games, 559 F. Supp. 3d at 1057.

          5    By contrast, if Apple simply followed the letter of the injunction and permitted developers to share

          6    information with their users — without the numerous unjustified restrictions on the location,

          7    appearance, and content of that information — those users would be better informed and able to

          8    make their own choices of which offer and payment method was most suitable.

          9           C.      The Apple Plan Forecloses Price Competition by Imposing Commissions on
                              Out-of-App Transactions that Effectively Meet or Exceed Apple’s IAP
        10                    Commissions, Deterring Developers from Implementing an External Payment
                              Link.
        11
                              On top of its anti-steering restrictions, the Apple Plan also requires that app
        12
               developers that implement a payment link must pay Apple a 27% commission (or 12% for certain
        13
               qualifying purchases) on any purchases made on the developer’s website within seven days after
        14
               linking out through the external purchase link in an iOS app.4 The commission applies even if the
        15
               user navigates directly to the developer’s website to make the purchase days after clicking on the
        16
               external payment link within the iOS app.         (See Dkt. No. 874, Ex. 2 § 1 (definition of
        17
               “Transaction”).) This commission undermines the injunction and ensures that app developers such
        18
               as Spotify will not even attempt to implement external links in their apps. It is designed to nullify
        19
               the Court’s Order in practical effect.
        20
                              Apple’s new 27% commission eliminates any potential consumer benefit provided
        21
               by an external link because it essentially guarantees that a developer’s prices offered through an
        22
               alternative payment mechanism will be the same as or higher than prices that developer would
        23
               charge using IAP. Under the status quo, apps can offer subscription options on their websites at
        24
               lower prices than they would charge using IAP precisely because Apple cannot impose a
        25
           4
                   This commission is only 3% lower than the 30% (or 15%) commission charged on
        26 transactions made through IAP. (Dkt. No. 874, Ex. 2 § 5.1.) Developers with subscription
           products — such as Spotify — are subject to Apple’s 27% commission on the initial purchase of
        27 the subscription and for each subsequent auto-renewal after the subscription is initiated. (Id.)
           After the first year of the subscription, the commission on auto-renewals drops to 12%. (Id.)
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             1   commission on those purchases.5 But many apps would be forced to raise their prices to the same

             2 inflated levels they would charge using IAP if they had to pay Apple’s new 27% commission on

             3 payments outside of iOS.

             4                  Furthermore, because the Apple Plan imposes a commission on payments made on

             5 a developer’s website by users long after linking out of an iOS app, Apple’s new tax would likely

             6 affect prices even for the developer’s users who never actually tapped on an external payment link.

             7 Apple’s new tax would apply even to purchases made on non-iOS devices, including desktop

             8 computers and even Android devices.           A developer cannot, therefore, account for Apple’s

             9 commission by simply sending all iOS users who tapped an external link — or even all iOS users

        10 generally — to a dedicated website that charges higher prices. Instead, any developer that

        11 implements an external payment link would have to assume that any transactions completed on its

        12 website, originating from any type of device, might be subject to Apple’s tax. As a result, the

        13 Apple Plan would effectively require Spotify to increase prices for all users if it wanted to

        14 implement the external purchase link without having to absorb Apple’s commissions. This

        15 outcome would be bad for consumers and contrary to the purpose of the injunction.

        16                      There is no legitimate basis for Apple to impose such a tax on developers for

        17 transactions made outside of an iOS app. When considered in light of payment processing and

        18 other expenses incurred by developers for transactions made on their own websites, the 27%

        19 commission under the Apple Plan is effectively equivalent to or higher than the 30% commission

        20 imposed on transactions through Apple’s IAP. (See Epic Brief, Dkt. No. 897, at 15–16.) Apple

        21       claims that this new commission is appropriate “in view of the substantial value Apple provides to

        22       developers” through use of its platform. (See Apple’s Notice, Dkt. No. 871, at 12.) But this Court

        23       has already found Apple’s 30% commission to be “excessive” and “unjustified.” Epic Games, 559

        24       F. Supp. 3d at 997, 1054.

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                 5
                          Spotify’s own experience with Apple demonstrates this point. When Spotify, under
        26       commercial pressure from Apple, adopted IAP for a time between 2014 and 2016, Spotify had to
                 raise its monthly subscription fee from $9.99 to $12.99 because of the 30% commission on all
        27       subscription signups within its iOS app.          See Time to Play Fair, Spotify (2024),
                 https://www.timetoplayfair.com/timeline/.
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             1                  Apple’s new 27% commission, together with its other restrictions on external links,

             2 accomplishes one clear goal: Ensuring that developers have no incentive to apply for an external

             3 link entitlement in the first place. This unjustified tax on linking to an out-of-app payment method

             4 will have the same practical effect as an outright ban on such links. By imposing this new fee,

             5 Apple eliminates any possibility that its narrow external link entitlement could lead to increased

             6 price transparency, and it ensures that no competing payment method will ever serve as a check

             7 on Apple’s IAP commissions.

             8                                            CONCLUSION

             9                  This Court correctly concluded that Apple’s anti-steering restrictions are illegal

        10       because they prevent developers from informing consumers about where to buy something and

        11       how much it costs. It also correctly observed that the most obvious way for Apple to comply with

        12       the injunction would be simply to remove the anti-steering restrictions from the Guidelines.

        13       Removing those provisions would allow developers to communicate with their users and bring

        14       about the price transparency that this Court intended to foster. But Apple failed to take this simple

        15       remedial step. Beyond failing even to remove all of the provisions that this Court found unlawful,

        16       Apple has also implemented a new set of anti-steering restrictions designed to ensure that

        17       developers cannot steer users to alternative payment methods within their iOS apps.

        18                      For the reasons described above, the Apple Plan deprives developers such as

        19       Spotify of the benefits of the injunction. This Court should not sanction Apple’s continued

        20       anticompetitive conduct by approving the Apple Plan. This Court should reject the Apple Plan

        21       and order Apple to comply with the injunction by removing the offending anti-steering provisions.

        22       Dated: March 20, 2024
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